                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                               )
                                                        )
      Plaintiff,                                        )         No. CR 06-1020
                                                        )
vs.                                                     )
                                                        )         NOTICE OF APPEAL
TERRY TERRELL SAMUELS,                                  )
                                                        )
      Defendant.                                        )
                                                        )


      COMES NOW, the Defendant, Terry Terrell Samuels, and by and through his
attorney, John Broz, hereby appeals the Judgment in this case.




                                                                  BY:        s/ John Broz
                                                                             JOHN BROZ
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                                                                             Oakdale, IA 52319
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                                                    Certificate of Service
      I served a copy of this document on the attorneys of record of all parties as follows:
      1. Method of service:          ( ) personal service
                                     ( ) first class mail
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                                     ( x ) electronic mail
                                     ( ) fax
      2. Date served:                November 16, 2007
      I declare that the statements above are true to the best of my information, knowledge, and belief.

                                                                s/ J. Broz




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